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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                   CASE NO.: 0:21-cv-61993-WPD
   ANIMACCORD LTD.,

          Plaintiff,
   v.

   THE INDIVIDUALS, PARTNERSHIPS
   AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON
   SCHEDULE “A,”

          Defendants.
                                                   /

           ORDER ON MOTION FOR ENTRY OF FINAL DEFAULT JUDGMENT

          THIS MATTER comes before the Court upon Plaintiff’s Animaccord, Ltd. (“Plaintiff”),

   Motion for Entry of Final Default Judgment (the “Motion”) [DE 49], filed on January 17, 2022. A

   Clerk’s Default, [DE 46], was entered against Defendants on December 29, 2021, as Defendants

   failed to appear, answer, or otherwise plead to the Complaint, [DE 1], despite having been served.

   See [DE 28]. The Court notes that Defendants failed to respond to the Court’s January 18, 2022

   Order to Show Cause why the Motion should not be granted. See [DE 53]. The Court has carefully

   considered the Motion, the record in this case, the applicable law, and is otherwise fully advised.

   For the following reasons, Plaintiff’s Motion [DE 49] is GRANTED.

   I.     INTRODUCTION

          Plaintiff sued Defendants for trademark counterfeiting and infringement under § 32 of the

   Lanham Act, 15 U.S.C. § 1114; false designation of origin pursuant to § 43(a) of the Lanham Act,

   15 U.S.C. § 1125(a); copyright infringement under the Copyright Act, 17 U.S.C. §§ 106(1), (3),

   (4) & 501, and common law unfair competition; and common law trademark infringement.
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           The Complaint alleges that Defendants are advertising, promoting, distributing, and

   performing Plaintiff’s copyrighted works using counterfeits and confusingly similar imitations of

   Plaintiff’s registered trademarks within the Southern District of Florida by operating the

   Defendants’ Internet based e-commerce stores operating under each of the Seller IDs identified on

   Schedule “A” attached to Plaintiff’s Motion for Entry of Final Default Judgment (the “Seller IDs”).

           Plaintiff further asserts that Defendants’ unlawful activities have caused and will continue

   to cause irreparable injury to Plaintiff because Defendants have 1) deprived Plaintiff of its right to

   determine the manner in which its trademarks are presented to consumers; (2) defrauded

   consumers into thinking Defendants’ illicit copies of Plaintiff’s copyrighted works are authorized

   by Plaintiff; (3) deceived the public as to Plaintiff’s sponsorship of and/or association with

   Defendants’ counterfeit products and the websites on online storefronts through which such

   products are sold, offered for sale, marketed, advertised, and distributed; (4) wrongfully traded and

   capitalized on Plaintiff’s reputation and goodwill and the commercial value of the Plaintiff’s

   trademarks; and (5) wrongfully damaged Plaintiff’s ability to market its branded products and

   copyrighted works and products and educate consumers about its brand via the Internet in a free

   and fair marketplace.

           In its Motion, Plaintiff seeks the entry of default final judgment against Defendants 1 in an

   action alleging trademark counterfeiting and infringement, false designation of origin, common-

   law unfair competition, common law trademark infringement, and infringement of copyright.

   Plaintiff further requests that the Court (1) enjoin Defendants unlawful use of Plaintiff’s

   trademarks and copyrighted works; (2) award Plaintiff damages; and (3) instruct any third party



           1
               Defendants are the Individuals, Partnerships, or Unincorporated Associations identified on Schedule “A”
   of Plaintiff’s Motion, and Schedule “A” of this Order.



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   financial institutions in possession of any funds restrained or held on behalf of Defendants to

   transfer these funds to the Plaintiff in partial satisfaction of the award of damages.

           Pursuant to Federal Rule of Civil Procedure 55(b)(2), the Court is authorized to enter a

   final judgment of default against a party who has failed to plead in response to a complaint. “[A]

   defendant’s default does not in itself warrant the court entering a default judgment.” DirecTV, Inc.

   v. Huynh, 318 F. Supp. 2d 1122, 1127 (M.D. Ala. 2004) (quoting Nishimatsu Constr. Co., Ltd. v.

   Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975)). Granting a motion for default judgment

   is within the trial court’s discretion. See Nishimatsu, 515 F.2d at 1206. Because the defendant is

   not held to admit facts that are not well pleaded or to admit conclusions of law, the court must first

   determine whether there is a sufficient basis in the pleading for the judgment to be entered. See

   id.; see also Buchanan v. Bowman, 820 F.2d 359, 361 (11th Cir. 1987) (“[L]iability is well-pled

   in the complaint, and is therefore established by the entry of default … .”). Upon a review of

   Plaintiff’s submissions, it appears there is a sufficient basis in the pleading for the default judgment

   to be entered in favor of Plaintiff.

   II.     FACTUAL BACKGROUND 2

           Plaintiff Animaccord Ltd. is the registered owner of the following trademarks registered

   on the Principal Register of the United States Patent and Trademark Office (collectively, the

   “Masha and the Bear Marks”):




           2
             The factual background is taken from Plaintiff’s Complaint, [ECF No. 1], Plaintiff’s Motion for Entry of
   Final Default Judgment and supporting evidentiary submissions.


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       Trademark      Registration   Registration   First Use       Classes / Goods
                       Number           Date          Date
                                                                IC 009: Pre-recorded
                                                                DVDs, namely, motion
                                                                picture films featuring
                                                                children's entertainment;

                                                                IC 016: Paper products,
                                                                namely, children's
                                                                storybooks, notebooks,
                                                                coloring books,
                                                                greetings cards,
                                                                stationery, stickers and
                                                                pens;
                        4,790,909    08/11/2015     4/15/2015
                                                                IC 018: Backpacks;

                                                                IC 025: Apparel,
                                                                namely, T-shirts and
                                                                shoes;

                                                                IC 028: Toys, namely,
                                                                dolls, stuffed toys, board
                                                                games and card games;
                                                                and

                                                                IC 030: Candy.

                                                                IC 009: Pre-recorded
                                                                DVDs, namely, motion
                                                                picture films featuring
                                                                children's entertainment;
                                                                and

                                                               IC 041: Entertainment
                                                               services, namely,
    MASHA AND THE
                        4,790,906    08/11/2015     08/04/2012 production of motion
        BEAR
                                                               picture films and motion
                                                               picture film distribution
                                                               services rendered
                                                               through the media of
                                                               cable television,
                                                               broadcast television, and
                                                               the Internet.




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          Trademark                Registration        Registration          First Use             Classes / Goods
                                    Number                Date                 Date
     MASHA AND THE
                                     5,420,550           03/13/2018         06/16/2016 See n. 3 below 3
         BEAR

             3
               IC 003: Non-medicated soaps; almond soaps; antiperspirant soap; balms other than for medical or
   pharmaceutical purposes, namely, lip balms, body balms; bath salts, not for medical purposes; breath freshening
   sprays; breath freshening strips; cakes of toilet soap; cleaning preparations; cosmetic creams; cosmetic kits comprised
   on non-medicated cosmetics; cosmetics; cosmetic cotton wool; deodorant soap; deodorants for human beings or for
   animals; disinfectant soap; dry shampoos; dry cleaning preparations; hair lotions; hair sprays; laundry preparations,
   namely, laundry detergents, laundry softener, laundry bleach; lip glosses; lipstick; lipstick cases; lotions for cosmetic
   purposes; make-up; medicated soaps; mouth washes, not for medical purposes; mouthwashes; nail varnish; nail polish;
   nail art stickers; perfumes; shampoos; toilet water; toiletries, namely, non-medicated toiletry preparations; eau de
   cologne; perfumery; scented body splash water;

             IC 012: Vehicles, namely, bicycles, tricycles, sleighs, kick sledges, baby carriages, prams, pushchairs,
   strollers; bicycles; tricycles; sleighs for transport purposes; kick sledges; baby carriages; prams; pushchairs; strollers;
   scooters, namely, motor scooters;

            IC 014: Precious metals; jewelry; jewelry cases; imitation jewelry; clocks; wall clocks; electronic clocks;
   alarm clocks; clocks and watches; stands for clocks; horological instruments; chronometric instruments; precious
   stones; key rings of precious metal; watches;

           IC 015: Accordions; cases for musical instruments; castanets; drums; drumsticks; electric musical
   instruments; flutes; guitars; harmonicas; horns; music synthesizers; music stands; musical boxes; pianos; saxophones;
   stands for musical instruments; tambourines; triangles; trombones; trumpets; violins; xylophones; musical
   instruments; basses;

             IC 020: Furniture; furniture shelves; furniture of metal; figurines of wood, wax, plaster or plastic; fans for
   personal use, non-electric; air pillows, not for medical purposes; air mattresses, not for medical purposes; armchairs;
   baby changing mats; baskets, not of metal, namely, baker's bread baskets, Moses baskets; bead curtains for decoration;
   bed bases; bedding, except linen, namely, bed frames, bumper guards for cribs; beds; benches; bolsters; book rests;
   bottle caps, not of metal; cases of wood or plastic; bins of wood or plastic; boxes of wood or plastic; chests of drawers;
   chests for toys; clothes hooks, not of metal; coat hangers; clothes hangers; coat stands; containers, not of metal for
   storage and transport; costume stands; cupboards; curtain rings; curtain rails; curtain rollers; curtain pins; curtain rods;
   curtain hooks; curtain fittings; cushions; deck chairs; decorations of plastic for foodstuffs; desks; divans; door handles,
   not of metal; door bells, not of metal, non-electric; door knockers, not of metal; doors for furniture; dressing tables;
   easy chairs; embroidery frames; toilet mirrors being hand-held mirrors; head-rests; high chairs for babies; house
   numbers, not of metal, non-luminous; hydrostatic beds, not for medical purposes; identification bracelets, not of metal;
   indoor window blinds; infant walkers; inflatable furniture; inflatable publicity objects; keyboards for hanging keys;
   ladders of wood or plastics; letter boxes not of metal or masonry; lockers; mats for infant playpens; mattresses;
   medicine cabinets; mirrors; decorative mobiles; office furniture; packaging containers of plastic; paper blinds; picture
   frames; pillows; placards of wood or plastics; plastic key cards, not encoded and not magnetic; playpens for babies;
   school furniture; chairs; shelves for storage; writing desks; sleeping bags for camping; sofas; stuffed animals; tables;
   tables of metal; tea trolleys; interior textile window blinds; tool and tool accessory trays, not of metal; umbrella stands;
   wall-mounted diaper changing platforms; table tops; slatted indoor blinds;

             IC 021: Aerosol dispensers, not for medical purposes; baby bathtubs, portable; baskets for domestic use;
   bottles, sold empty; bowls; brushes, namely, toothbrushes, hair brushes; buckets; buckets made of woven fabrics; non-
   electric candelabra; candy boxes; ceramics for household purposes, namely, ceramic figurines, ceramic vases, ceramic
   vessels, bowls, plates and pots; coffeepots, non-electric; combs; electric combs; comb cases; confectioners' decorating
   bags; containers for household or kitchen use; cookery molds; cookie jars; cooking pots; cosmetic utensils, namely,
   cosmetic brushes; cups; cups of paper or plastic; dishes; disposable table plates; drinking bottles for sports; drinking
   glasses; dustbins; egg cups; floss for dental purposes; cups for eating fruits; frying pans; glass jars; glass bowls; gloves


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          Trademark                Registration        Registration          First Use             Classes / Goods
                                    Number                Date                 Date
                                                                                             IC 016: Paper products,
                                                                                             namely, children's
                                                                                             storybooks, notebooks,
                                                                                             coloring books,
                                                                                             greetings cards,
                                                                                             stationery, stickers and
                                                                                             pens;

                                                                                             IC 018: Backpacks;
     MASHA AND THE
                                     4,800,025           08/25/2015         04/15/2015
         BEAR
                                                                                             IC 025: Apparel,
                                                                                             namely, T-shirts and
                                                                                             shoes;

                                                                                             IC 028: Toys, namely
                                                                                             dolls, stuffed toys, board
                                                                                             games and card games;

                                                                                             IC 030: Candy.


   See Composite Exhibit 1 to Complaint, ECF No. [1-1] containing Certificates of Registrations for

   the Masha and the Bear Marks at issue. The Masha and The Bear Marks are used in connection

   with the design, marketing, and distribution of high-quality goods in at least the categories

   identified above. See Declaration of Iuliia Belkova, ECF No. [5-1] at 4. Plaintiff has exclusive

   rights in and to the Masha and the Bear Marks. Id.

            Plaintiff is also the owner of the following copyrights registered in the United States of

   America:



   for household purposes; hot pots; ice buckets; ice cube molds; kitchen containers; lunch boxes; mugs; napkin holders;
   painted beverage glassware; paper plates; perfume vaporizers sold empty; perfume sprayers; porcelain ware, namely,
   mugs, statuettes; pots; pottery, namely, mugs, statuettes; salad bowls; soap holders; dishes for soap; soap boxes; soup
   bowls; straws for drinking; sugar bowls; tableware, other than knives, forks and spoons, namely, scoops for serving
   or portioning; tea services in the nature of tableware; teapots; toothbrushes, electric; toothbrushes; toothpicks; trays
   for domestic purposes; trays for domestic purposes, of paper; vases; vegetable dishes; and

             IC 024: Textile material; bed covers; plastic table covers; bed linen; tablecloths, not of paper; handkerchiefs
   of textiles; travelling rugs; towels of textile; bed blankets; shower curtains of textile or plastic; curtains of textile or
   plastic; net curtains; table runners, not of paper; oilcloth for use as tablecloths.


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        Registration         Registration Date                       Title of Work
          Number
        VA 1-835-810            Aug. 21, 2012                Masha and the Bear Logo
        PA 1-813-099            July 12, 2012                    First day of school
        PA 1-813-100            July 12, 2012                       Laundry day
        PA 1-813-101            July 12, 2012                      Holiday on ice
        PA 1-813-102            July 12, 2012         One, two, three! Light the Christmas tree!
        PA 1-813-103            July 12, 2012                    Recipe for disaster
        TX 8-552-180            Dec. 27, 2017         Masha and the Bear: A Magical Holiday
        TX 8-588-442            Aug. 14, 2017          Masha and the Bear: A Spooky Bedtime
        TX 8-431-770            June 23, 2017          Masha and the Bear: Kidding Around!
        TX 8-537-380            Dec. 27, 2017          Masha and the Bear: The Best Birthday
        TX 8-444-776            Aug. 7, 2017        Masha and the Bear: The Girl Who Called Wolf


   Id at 5. Moreover, Plaintiff is the owner of many unregistered copyrights, including but not limited

   to those specifically identified in paragraph 35 of the Complaint and in Exhibit 3 thereto, [ECF

   No. 1-3]. See Declaration of Iuliia Belkova, [ECF No. 5-1] at 5. Collectively, these registered and

   unregistered copyrighted works are referred to herein as the “Copyrighted Works.” Plaintiff has

   exclusive rights in and to the Copyrighted Works. Id.

          Defendants, through the various Internet based e-commerce stores operating under each

   of the Seller IDs identified on Schedule “A” hereto (the “Seller IDs”) have advertised, promoted,

   offered for distribution, distributed and/or publicly performed the Copyrighted Works under

   what Plaintiff has determined to be counterfeits, infringements, reproductions, and/or colorable

   imitations of the Masha and the Bear Marks and Copyrighted Works. See Declaration of Iuliia

   Belkova, [ECF No. 5-1] at 15-18; see also Declaration of Richard Guerra, [ECF No. 5-2] at 4.

          Although each Defendant may not copy and infringe each of Plaintiff’s trademarks for each

   category of services protected, Plaintiff has submitted sufficient evidence showing each Defendant

   has infringed, at least, one or more of the Masha and the Bear Marks and the Copyrighted Works

   at issue. See Declaration of Iuliia Belkova, [ECF No. 5-1] at 15-18, and Schedule “E” to




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   Declaration of Richard Guerra 4. Defendants are not now, nor have they ever been, authorized or

   licensed to use, reproduce, or make counterfeits, reproductions, or colorable imitations of the of

   the Masha and the Bear Marks and/or reproduce or distribute the Copyrighted Works. See

   Declaration of Iuliia Belkova, [ECF No. 5-1] at 15-18.

            As part of its ongoing investigation regarding the sale of counterfeit and infringing

   products, Plaintiff hired a third party investigatory to access Defendants’ Internet based e-

   commerce stores operating under each of the Seller IDs. The third party investigator initiated

   orders from each Seller IDs for the purchase of various products, all bearing, or suspected of

   bearing, counterfeits of, at least one of the Masha and The Bear Marks or Copyrighted Works, and

   requested each product to be shipped to an address in the Southern District of Florida.

   Accordingly, Defendants’ Goods are being promoted, advertised, offered for sale, and sold by

   Defendants within this district and throughout the United States. See Declaration of Richard

   Guerra [ECF No. 5-2] at 5. A representative for Plaintiff personally analyzed the Masha and The

   Bear branded items wherein orders were initiated via each of the Seller IDs by reviewing the e-

   commerce stores operating under each of the Seller IDs, or the detailed web page captures and

   images of the items bearing the Masha and The Bear Marks and Copyrighted Works, and

   concluded the products were non-genuine, unauthorized Masha and The Bear products. See

   Declaration of Iuliia Belkova, [ECF No. 5-1] at 18.

   III.     ANALYSIS

            A.      Claims

                    1.       Trademark Counterfeiting and Infringement Pursuant to § 32 of the
                             Lanham Act (15 U.S.C. § 1114) (Count I)

            4
              Evidence of each Defendant’s infringement was attached as Exhibit 1 to the Declaration of Richard Guerra
   in Support of Plaintiff’s Motion for Entry of Final Default Judgment. Due to the size restriction for filing with the
   CM/ECF, the exhibit to the declaration was filed separately, in parts, in order to meet the maximum allowable size
   constraints on January 17, 2022.


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          Section 32 of the Lanham Act, 15 U.S.C. § 1114, provides liability for trademark

   infringement if, without the consent of the registrant, a defendant uses “in commerce any

   reproduction, counterfeit, copy, or colorable imitation of a registered mark: which is likely to cause

   confusion, or to cause mistake, or to deceive.” 15 U.S.C. § 1114. In order to prevail on its

   trademark infringement claim under Section 32 of the Lanham Act, Plaintiff must demonstrate that

   (1) it had prior rights to the mark at issue; and (2) Defendants adopted a mark or name that was

   the same, or confusingly similar to Plaintiff’s trademark, such that consumers were likely to

   confuse the two. Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188, 1193 (11th Cir.

   2001) (citing Lone Star Steakhouse & Saloon, Inc. v. Longhorn Steaks, Inc., 106 F.3d 355, 360

   (11th Cir. 1997)).

                  2.      False Designation of Origin Pursuant to § 43(A) of the Lanham Act
                          (15 U.S.C. § 1125(a)) (Count II)

             To prevail on a claim for false designation of origin under Section 43(a) of the Lanham

     Act, 15 U.S.C. § 1125(a), Plaintiff must prove that Defendants used in commerce, in

     connection with any goods or services, any word, term, name, symbol or device, or any

     combination thereof, or any false designation of origin that is likely to deceive as to the

     affiliation, connection, or association of Defendants with Plaintiff, or as to the origin,

     sponsorship, or approval, of Defendants’ services by Plaintiff. See 15 U.S.C. § 1125(a)(1).

     The test for liability for false designation of origin under 15 U.S.C. § 1125(a) is the same as

     for a trademark counterfeiting and infringement claim – i.e., whether the public is likely to be

     deceived or confused by the similarity of the marks at issue. See Two Pesos, Inc. v. Taco Cabana,

     Inc., 505 U.S. 763, 780 (1992).

                  3.      Common Law Unfair Competition and Trademark Infringement
                          (Counts III and IV)



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          Whether a defendant’s use of a Plaintiff’s trademarks created a likelihood of confusion

   between the Plaintiff’s and the defendant’s services or goods is also the determining factor in the

   analysis of unfair competition under Florida common law. Rolex Watch U.S.A., Inc. v. Forrester,

   1986 WL 15668, at *3 (S.D. Fla. Dec. 9, 1987) (“The appropriate test for determining whether

   there is a likelihood of confusion, and thus trademark infringement, false designation of origin,

   and unfair competition under the common law of Florida, is set forth in John H. Harland, Inc. v.

   Clarke Checks, Inc., 711 F.2d 966, 972 (11th Cir. 1983.)”.); see also Boston Prof’l Hockey Ass’n,

   Inc. v. Dallas Cap & Emblem Mfg., Inc., 510 F.2d 1004, 1010 (5th Cir. 1975) (“As a general rule

   . . . the same facts which would support an action for trademark infringement would also support

   an action for unfair competition.”).

          The analysis of liability for Florida common law trademark infringement is the same as the

   analysis of liability for trademark infringement under § 32(a) of the Lanham Act. See PetMed

   Express, Inc. v. MedPets.com, Inc., 336 F. Supp. 2d 1213, 1217-18 (S.D. Fla. 2004).

                  4.      Infringement of Copyright (Count V)

          To prevail on a claim of direct infringement of copyright pursuant to the Copyright Act, 17

   U.S.C. §§ 106(1), (3) and (4), Plaintiff must “satisfy two requirements to present a prima facie

   case of direct copyright infringement: (1) they must show ownership of the allegedly infringed

   material, and (2) they must demonstrate that the alleged infringers violated at least one exclusive

   right granted to copyright holders under 17 U.S.C. § 106." A&M Records, Inc. v. Napster, Inc.,

   239 F.3d 1004, 1013 (9th Cir. 2001). See also Disney Enters. v. Hotfile Corp., Case No. 11-20427-

   CIV-Williams, 2013 U.S. Dist. LEXIS 172339, at *94 (S.D. Fla. 2013).

          B.      Liability

          The well-pled factual allegations of Plaintiff’s Complaint properly allege the elements for



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   each of the claims described above. See [ECF No. 1]. Moreover, the factual allegations in

   Plaintiff’s Complaint have been substantiated by sworn declarations and other evidence and

   establish Defendants’ liability under each of the claims asserted in the Complaint. Accordingly,

   default judgment pursuant to Federal Rule of Civil Procedure 55 is appropriate.

           C.     Injunctive Relief

           Pursuant to the Lanham Act, a district court is authorized to issue an injunction “according

   to the principles of equity and upon such terms as the court may deem reasonable,” to prevent

   violations of trademark law. See 15 U.S.C. § 1116(a). Indeed, “[i]njunctive relief is the remedy of

   choice for trademark and unfair competition cases, since there is no adequate remedy at law for

   the injury caused by a defendant’s continuing infringement.” Burger King Corp. v. Agad, 911 F.

   Supp. 1499, 1509-10 (S.D. Fla. 1995) (citing Century 21 Real Estate Corp. v. Sandlin, 846 F.2d

   1175, 1180 (9th Cir. 1988)). Moreover, even in a default judgment setting, injunctive relief is

   available. See e.g., PetMed Express, Inc., 336 F. Supp. 2d at 1222-23. Defendants’ failure to

   respond or otherwise appear in this action makes it difficult for Plaintiff to prevent further

   infringement absent an injunction. See Jackson v. Sturkie, 255 F. Supp. 2d 1096, 1103 (N.D. Cal.

   2003) (“[D]efendant’s lack of participation in this litigation has given the court no assurance that

   defendant’s infringing activity will cease. Therefore, plaintiff is entitled to permanent injunctive

   relief.”)

           Permanent injunctive relief is appropriate where a plaintiff demonstrates that (1) it has

   suffered irreparable injury; (2) there is no adequate remedy at law; (3) the balance of hardship

   favors an equitable remedy; and (4) an issuance of an injunction is in the public’s interest. eBay,

   Inc. v. MercExchange, LLC, 547 U.S. 388, 392-93 (2006). Plaintiff has carried its burden on each

   of the four factors. Accordingly, permanent injunctive relief is appropriate.




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          Specifically, in trademark cases, “a sufficiently strong showing of likelihood of confusion

   . . . may by itself constitute a showing of a substantial threat of irreparable harm.” McDonald’s

   Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998); see also Levi Strauss & Co. v. Sunrise

   Int’l Trading Inc., 51 F.3d 982, 986 (11th Cir. 1995) (“There is no doubt that the continued sale

   of thousands of pairs of counterfeit jeans would damage LS & Co.’s business reputation and might

   decrease its legitimate sales.”). Plaintiff’s Complaint alleges that Defendants’ unlawful actions

   have caused Plaintiff irreparable injury and will continue to do so if Defendants are not

   permanently enjoined. See [ECF No. 1]. Further, the Complaint alleges, and the unauthorized

   Masha and The Bear products sold, offered for sale, marketed, advertised, and distributed by

   Defendants are nearly identical to Plaintiff’s genuine Masha and The Bear products and that

   consumers viewing Defendants’ counterfeit products would actually confuse them for Plaintiff’s

   genuine products. See id. “The effect of Defendants’ actions will cause confusion of consumers,

   at the time of initial interest, sale, and in the post-sale setting, who will believe Defendants’

   Counterfeit Goods are genuine goods originating from, associated with, or approved by Plaintiff.”

   See [ECF No. 1], at 40.

          Plaintiff has no adequate remedy at law so long as Defendants continue to operate the Seller

   IDs because Plaintiff cannot control the quality of what appears to be its Masha and The Bear

   products in the marketplace. An award of monetary damages alone will not cure the injury to

   Plaintiff’s reputation and goodwill that will result if Defendants’ infringing and counterfeiting and

   infringing actions are allowed to continue. Moreover, Plaintiff faces hardship from loss of sales

   and its inability to control its reputation in the marketplace. By contrast, Defendants face no

   hardship if they are prohibited from the infringement of Plaintiff’s trademarks and copyrights,

   which are illegal acts.




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           Finally, the public interest supports the issuance of a permanent injunction against

   Defendants to prevent consumers from being misled by Defendants’ counterfeit products. See

   Nike, Inc. v. Leslie, 1985 WL 5251, at *1 (M.D. Fla. June 24, 1985) (“[A]n injunction to enjoin

   infringing behavior serves the public interest in protecting consumers from such behavior.”). The

   Court’s broad equity powers allow it to fashion injunctive relief necessary to stop Defendants’

   infringing activities. See, e.g., Swann v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 15

   (1971) (“Once a right and a violation have been shown, the scope of a district court’s equitable

   powers to remedy past wrongs is broad, for . . . [t]he essence of equity jurisdiction has been the

   power of the Chancellor to do equity and to mould each decree to the necessities of the particular

   case.” (citation and internal quotation marks omitted)); United States v. Bausch & Lomb Optical

   Co., 321 U.S. 707, 724 (1944) (“Equity has power to eradicate the evils of a condemned scheme

   by prohibition of the use of admittedly valid parts of an invalid whole.”).

           Defendants have created an Internet-based infringement scheme in which they are profiting

   from their deliberate misappropriation of Plaintiff’s rights. Accordingly, the Court may fashion

   injunctive relief to eliminate the means by which Defendants are conducting their unlawful

   activities.

           D.     Statutory Damages for the Use of Counterfeit Marks

           In a case involving the use of counterfeit marks in connection with a sale, offering for sale,

   or distribution of products, 15 U.S.C. § 1117(c) provides that a plaintiff may elect an award of

   statutory damages at any time before final judgment is rendered in the sum of not less than

   $1,000.00 nor more than $200,000.00 per counterfeit mark per type of good or service. 15 U.S.C.

   § 1117(c)(1). In addition, if the Court finds that Defendants’ counterfeiting actions were willful, it

   may impose damages above the maximum limit up to $2,000,000.00 per mark per type of good or




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   service. 15 U.S.C. § 1117(c)(2). Pursuant to 15 U.S.C. § 1117(c), Plaintiff has elected to recover

   an award of statutory damages as to Count I of the Complaint.

          The Court has wide discretion to determine the amount of statutory damages. See PetMed

   Express, Inc., 336 F. Supp. 2d at 1219 (citing Cable/Home Commc’n Corp. v. Network Prod., Inc.,

   902 F.2d 829, 852 (11th Cir. 1990)). An award of statutory damages is appropriate despite a

   Plaintiff’s inability to prove actual damages caused by a defendant’s infringement. Under Armour,

   Inc. v. 51nfljersey.com, No. 13-62809-CIV, 2014 U.S. Dist. LEXIS 56475, at *22-*23 (S.D. Fla.

   Apr. 23, 2014) (citing Ford Motor Co. v. Cross, 441 F. Supp. 2d 837, 852 (E.D. Mich. 2006) (“[A]

   successful plaintiff in a trademark infringement case is entitled to recover enhanced statutory

   damages even where its actual damages are nominal or non-existent.”)); Playboy Enter., Inc. v.

   Universal Tel-A-Talk, Inc., No. CIV.A. 96-6961, 1998 WL 767440, at *8 (E.D. Pa. Nov. 3, 1998)

   (awarding statutory damages where plaintiff failed to prove actual damages or profits). Indeed,

   Congress enacted a statutory damages remedy in trademark counterfeiting cases because evidence

   of a defendant’s profits in such cases is almost impossible to ascertain. See, e.g., S. REP. NO. 104-

   177, pt. V(7) (1995) (discussing purposes of Lanham Act statutory damages); see also PetMed

   Express, Inc., 336 F. Supp. 2d at 1220 (statutory damages are “especially appropriate in default

   judgment cases due to infringer nondisclosure”). This case is no exception.

          This Court may award statutory damages “without holding an evidentiary hearing based

   upon affidavits and other documentary evidence if the facts are not disputed.” Perry Ellis Int’l,

   Inc. v. URI Corp., No. 06-22020-CIV, 2007 WL 3047143, at *1 (S.D. Fla. Oct. 18, 2007).

   Although the Court is permitted to conduct a hearing on a default judgment in regards to damages

   pursuant to Fed. R. Civ. P. 55(b)(2)(B), an evidentiary hearing is not necessary where there is

   sufficient evidence on the record to support the request for damages. See SEC v. Smyth, 420 F.3d




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   1225, 1232 n.13 (11th Cir. 2005) (“Rule 55(b)(2) speaks of evidentiary hearings in a permissive

   tone . . . We have held that no such hearing is required where all essential evidence is already of

   record.”) (citations omitted); see also PetMed Express, 336 F. Supp. 2d at 1223 (entering default

   judgment, permanent injunction and statutory damages in a Lanham Act case without a hearing).

          Here, the allegations in the Complaint, which are taken as true, clearly establish Defendants

   intentionally copied the Masha and the Bear Marks for the purpose of deriving the benefit of

   Plaintiff’s world-famous reputation. As such, the Lanham Act permits the Court to award up to

   $2,000,000.00 per infringing mark on each type of service as statutory damages to ensure that

   Defendants do not continue their intentional and willful counterfeiting activities.

          The evidence in this case demonstrates that each Defendant sold, promoted, distributed,

   advertised, and/or offered for sale products bearing marks which were in fact counterfeits of at

   least one of the Masha and the Bear Marks. See [ECF No. 1]. Based on the above considerations,

   Plaintiff suggests the Court award statutory damages of $100,000.00 against each Defendant. The

   award should be sufficient to deter Defendants and others from continuing to counterfeit or

   otherwise infringe Plaintiff’s trademarks, compensate Plaintiff, and punish Defendants, all stated

   goals of 15 U.S.C. § 1117(c). The Court finds that this award of statutory damages falls within the

   permissible statutory range under 15 U.S.C. § 1117(c) and is just.

          E.      Damages for False Designation of Origin

          Plaintiff’s Complaint also sets forth a cause of action for false designation of origin

   pursuant to § 43(a) of the Lanham Act (Count II). See 15 U.S.C. § 1125(a). As to Count II, the

   allowed scope of monetary damages is also encompassed in 15 U.S.C. § 1117(c). Accordingly,

   judgment on Count II is limited to the amount awarded pursuant to Count I and entry of the

   requested equitable relief.




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           F.       Damages for Common Law Unfair Competition and Trademark
                    Infringement

           Plaintiff’s Complaint further sets forth a cause of action under Florida’s common law of

   unfair competition (Count III) and trademark infringement (Count IV). Judgment on Count III and

   Count IV are also limited to the amount awarded pursuant to Count I and entry of the requested

   equitable relief. 5

           IV.     CONCLUSION

            Based on the foregoing, it is ORDERED AND ADJUDGED that Plaintiff’s Motion [DE

   49] is GRANTED against those Defendants listed in the attached Schedule “A.” Final Default

   Judgment will be entered by separate order.

           DONE AND ORDERED in Fort Lauderdale, Broward County, Florida, this 1st day of

   February, 2022.




   cc:     counsel of record




           5
             Plaintiff is electing not to pursue statutory damages or actual damages under the Copyright Act and is only
   seeking equitable relief in the form of a permanent injunction with respect to its copyright infringement claim.


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